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                               UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF ALASKA


       In re: POMRENKE MINING, LLC, A DELAWARE LI                   §   Case No. 19-00083
                                                                    §
                                                                    §
   Debtor(s)                                                        §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         KENNETH W. BATTLEY, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $3,014,945.00                      Assets Exempt: $0.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$378,707.79         Claims Discharged
                                                     Without Payment: $13,528.44

 Total Expenses of Administration:$153,848.38


         3) Total gross receipts of $    590,772.92 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $    58,739.62 (see Exhibit 2 ), yielded net receipts of $532,033.30
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                               $0.00              $0.00              $0.00             $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00         153,848.38        153,848.38         153,848.38

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                  3,195.50          22,389.29          13,821.75         13,821.75
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                    390,646.61       1,272,695.54         364,886.04        364,886.04

                                          $393,842.11      $1,448,933.21        $532,556.17       $532,556.17
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on March 15, 2019.
  The case was pending for 26 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 05/04/2021                 By: /s/KENNETH W. BATTLEY
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                           UNIFORM                               $ AMOUNT
              DESCRIPTION
                                                                                          TRAN. CODE 1                           RECEIVED
     Wells Fargo account #473                                                             1129-000                                     49.71

     Wells Fargo      #3941                                                               1129-000                                     55.22

     Well Fargo #0094                                                                     1129-000                                     44.87

     Gold 74 oz at $1,100/oz.                                                             1129-000                                 84,536.11

     Check from      GBA for Gold processed                                               1229-000                                 35,771.13

     Sale of Pomrenke Mining          Assets per Order                                    1129-000                                470,315.88


    TOTAL GROSS RECEIPTS                                                                                                         $590,772.92

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                           UNIFORM                               $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                          TRAN. CODE                                PAID
 Pomrenke Mining LLC                              Dividend paid 100.00% on
                                                  $266.88; Claim# 111; Filed:
                                                  $266.88; Reference:                     8200-002                                      0.00

 Roland Werner                                    paid per order filed 12-2-20 8200-052                                              944.82

 Blue Water Gold LLC                                                                      8100-000                                 54,799.52

 Blue Water Mining LLC                                                                    8200-052                                  2,995.28

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                          $58,739.62
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS           CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED            PAID
                                                       CODE                6D)
                                                                  None


    TOTAL SECURED CLAIMS                                                          $0.00                $0.00             $0.00                 $0.00




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EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                         UNIFORM
    PAYEE                                            CLAIMS          CLAIMS         CLAIMS         CLAIMS
                                          TRAN.
                                                    SCHEDULED       ASSERTED       ALLOWED          PAID
                                          CODE
 Other - INTERNATIONAL SURETIES, LTD.        2300-000         N/A         194.37          194.37        194.37

 Other - Cabot Christianson                  3210-000         N/A      85,404.00      85,404.00       85,404.00

 Other - Cabot Christianson                  3220-000         N/A       2,900.79       2,900.79        2,900.79

 Other - GBA Assaying                        3991-000         N/A         300.00          300.00        300.00

 Other - Northwest Gold Diggers LLC          2420-000         N/A      10,555.43      10,555.43       10,555.43

 Other - RUSSELL E MINKEMANN                 3410-000         N/A       8,030.00       8,030.00        8,030.00

 Other - RUSSELL E MINKEMANN                 3420-000         N/A          52.84           52.84           52.84

 Trustee Compensation - KENNETH W. BATTLEY   2100-000         N/A      29,384.51      29,384.51       29,384.51

 Trustee Expenses - KENNETH W. BATTLEY       2200-000         N/A         503.51          503.51        503.51

 Other - WENDY'S SUPPORT SERVICES            2690-000         N/A         196.40          196.40        196.40

 Other - City of Nome                        2410-000         N/A       2,033.00       2,033.00        2,033.00

 Other - Mechanics Bank                      2600-000         N/A         407.26          407.26        407.26

 Other - Mechanics Bank                      2600-000         N/A         813.73          813.73        813.73

 Other - Mechanics Bank                      2600-000         N/A         785.18          785.18        785.18

 Other - Mechanics Bank                      2600-000         N/A         790.62          790.62        790.62

 Other - Mechanics Bank                      2600-000         N/A         726.83          726.83        726.83

 Other - Mechanics Bank                      2600-000         N/A         678.82          678.82        678.82

 Other - Mechanics Bank                      2600-000         N/A         747.95          747.95        747.95

 Other - Law Offices of Cabot                3210-000         N/A       8,876.00       8,876.00        8,876.00
 Christianson, P.C.
 Trustee Compensation - Kenneth Battley      2100-000         N/A         467.14          467.14        467.14

 TOTAL CHAPTER 7 ADMIN. FEES                            N/A          $153,848.38    $153,848.38     $153,848.38
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                         UNIFORM
    PAYEE                                            CLAIMS          CLAIMS         CLAIMS         CLAIMS
                                          TRAN.
                                                    SCHEDULED       ASSERTED       ALLOWED          PAID
                                          CODE
                                                 None

 TOTAL PRIOR CHAPTER ADMIN.                             N/A                $0.00          $0.00            $0.00
 FEES AND CHARGES




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EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                        UNIFORM      CLAIMS            CLAIMS
   CLAIM                                            SCHEDULED         ASSERTED              CLAIMS         CLAIMS
    NO.           CLAIMANT               TRAN.      (from Form       (from Proofs of       ALLOWED          PAID
                                         CODE           6E)               Claim)
     11     City of Nome                 5800-000         3,195.50            3,060.75         3,060.75       3,060.75

     16     City of Nome                 5800-000      N/A                  19,328.54         10,761.00      10,761.00

 TOTAL PRIORITY UNSECURED                                $3,195.50         $22,389.29        $13,821.75     $13,821.75
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                        UNIFORM      CLAIMS            CLAIMS
   CLAIM                                            SCHEDULED         ASSERTED              CLAIMS         CLAIMS
    NO.           CLAIMANT               TRAN.      (from Form       (from Proofs of       ALLOWED          PAID
                                         CODE           6F)               Claim)
      1     Northwest Gold Diggers, LLC 7100-000         49,417.20         N/A                    N/A              0.00

      2     Christine Pomrenke           7100-000      N/A                 194,301.00               0.00           0.00

      3     Steve Pomrenke               7100-000      N/A                 387,945.00               0.00           0.00

      4     Shawn Pomrenke               7100-000      N/A                 N/A                      0.00           0.00

      5     Dorsey & Whitney LLP         7100-000        35,000.00          50,779.83         46,971.34      46,971.34

      5I    Dorsey & Whitney LLP         7990-000      N/A                    2,086.98         2,086.98       2,086.98

      6     Carol Bavousett Mattick,     7100-000       164,187.50         224,858.50        161,172.09     161,172.09
            PLLC
      6I    Carol Bavousett Mattick,     7990-000      N/A                    7,161.03         7,161.03       7,161.03
            PLLC
      7     Jon Keith Byer               7100-000      N/A                 240,500.00               0.00           0.00

      8     Georgie W. Lewis             7100-000       100,000.00         101,227.40        101,227.40     101,227.40

      8I    Georgie W. Lewis             7990-000      N/A                    4,497.63         4,497.63       4,497.63

      9     Desoree McDougal             7100-000      N/A                 N/A                      0.00           0.00

     10     Nome Joint Utility System    7100-000         3,050.29            3,050.29         3,050.29       3,050.29

     10I    Nome Joint Utility System    7990-000      N/A                       135.53           135.53       135.53

     11I    City of Nome                 7990-000      N/A                       135.99           135.99       135.99

     12     City of Nome                 7100-000      N/A                    1,449.00              0.00           0.00

     13     Blue Water Gold LLC          7100-000        22,018.19          22,018.19         22,018.19      22,018.19

     13I    Blue Water Gold LLC          7990-000      N/A                       978.29           978.29       978.29

     14     Blue Water Mining, LLC       7100-000         2,137.14            2,317.14         2,317.14       2,317.14

     14I    Blue Water Mining, LLC       7990-000      N/A                       102.95           102.95       102.95

     15     Eagle Harbor Engineering,    7100-000      N/A                    6,750.00         6,750.00       6,750.00
            PLLC



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     15I    Eagle Harbor Engineering,    7990-000     N/A                     299.91         299.91        299.91
            PLLC
     16I    City of Nome                 7990-000     N/A                     478.12         478.12        478.12

     17     Morgan Sales and Service     7200-000           401.63            401.63         401.63        401.63

     17I    Morgan Sales and Service     7990-000     N/A                      17.84          17.84           17.84

     18     Soleer LLC                   7200-000           568.32            189.44         189.44        189.44

     18I    Soleer LLC                   7990-000     N/A                       8.42           8.42            8.42

     19     Bonanza Fuel, LLC            7200-000           153.90            153.90         153.90        153.90

     19I    Bonanza Fuel, LLC            7990-000     N/A                       6.84           6.84            6.84

     20     NC Machinery                 7200-000            85.00             85.00          85.00           85.00

     20I    NC Machinery                 7990-000     N/A                       3.78           3.78            3.78

     21     InCorp Services, Inc.        7200-000            99.00             99.00          99.00           99.00

     21I    InCorp Services, Inc.        7990-000     N/A                       4.40           4.40            4.40

     22     Pioneer Marine Mining Inc.   7200-000     N/A                16,119.60             0.00            0.00

    224DE   City of Nome                 7100-000     N/A                 3,839.45        3,839.45        3,839.45

   224DEI   City of Nome                 7990-000     N/A                     170.59         170.59        170.59

 NOTFILED   LOGIX                        7100-000        3,165.72       N/A                  N/A               0.00

 NOTFILED   IPFS                         7100-000       10,362.72       N/A                  N/A               0.00

            U. S. Bankruptcy Court       7100-000     N/A                     522.87         522.87        522.87
            District of Alaska
 TOTAL GENERAL UNSECURED                              $390,646.61    $1,272,695.54     $364,886.04     $364,886.04
 CLAIMS




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                                                                                                                                                          Exhibit 8


                                                                        Form 1                                                                            Page: 1

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 19-00083                                                           Trustee:         (230020)    KENNETH W. BATTLEY
Case Name:        POMRENKE MINING, LLC, A DELAWARE LI                           Filed (f) or Converted (c): 03/15/19 (f)
                                                                                §341(a) Meeting Date:        04/19/19
Period Ending: 05/04/21                                                         Claims Bar Date:             07/17/19

                                1                                2                          3                     4              5                   6

                    Asset Description                         Petition/           Estimated Net Value         Property      Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)           Unscheduled      (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                               Values           Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                              and Other Costs)                                         Remaining Assets

 1       2011 EnduraMax RV4012END, propane, VIN                  50,000.00                   50,000.00                                0.00                    FA
         #5UEFG302
          Administered under asset 23

 2       2011 EnduraMax RV 30MFW, propane, VIN                   35,000.00                   35,000.00                                0.00                    FA
         #5UEFG403X
          Administered under asset 23

 3       2011 EnduraMax RV 33 MFW, propane, VIN                  35,000.00                   35,000.00                                0.00                    FA
         #5UEFG342
          Administered under asset 23

 4       2012 Polaris Ranger Crew 800 - 6 person A.T.V. w         7,000.00                      7,000.00                              0.00                    FA
          Administered under asset 23

 5       2012 Polaris Sportsman X2 550 - 2 person A.T.V.,         6,000.00                      6,000.00                              0.00                    FA
          Administered under asset 23

 6       F/V Golden Girl - 2004 North River 20' Aluminum         21,495.00                   21,495.00                                0.00                    FA
          Administered under asset 23

 7       ame M/V Ophir- 2012 30' Aluminum Swiftsure Boat       189,500.00                   189,500.00                                0.00                    FA
          Administered under asset 23

 8       M/V Havilah - 2012 50' Aluminum Suction Dredge C      469,200.00                   469,200.00                                0.00                    FA
          Administered under asset #23

 9       2012 King Boat Trailer, Serial No. 4XBB33232CA01        Unknown                        Unknown                               0.00                    FA
          Administered under asset 23

10       F/V Christine Rose, 1941 near shore dredge vesse    1,500,000.00                  1,500,000.00                               0.00                    FA
          Administered under asset 23

11       M/VTuvIi II, 1954 Higgens LCH-8 DED, Model 0 Mar      400,000.00                   400,000.00                                0.00                    FA
          Administered under asset 23

12       M/V Tuvli I (aka "Tulvi 160), 1968 157.5' flat-d      300,000.00                   300,000.00                                0.00                    FA
          Administered under asset 23

13       Wells Fargo account #473                                    49.71                        49.71                              49.71                    FA

14       Wells Fargo #3941                                           55.22                        55.22                              55.22                    FA

15       Well Fargo #0094                                            44.84                        44.84                              44.87                    FA

16       Possible intellectual rights in connection with         Unknown                        Unknown                               0.00                    FA
          under asset 23


                                                                                                                           Printed: 05/04/2021 02:59 PM    V.20.33
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                                                                                                                                                                          Exhibit 8


                                                                                 Form 1                                                                                   Page: 2

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 19-00083                                                                    Trustee:         (230020)    KENNETH W. BATTLEY
Case Name:         POMRENKE MINING, LLC, A DELAWARE LI                                   Filed (f) or Converted (c): 03/15/19 (f)
                                                                                         §341(a) Meeting Date:        04/19/19
Period Ending: 05/04/21                                                                  Claims Bar Date:             07/17/19

                                  1                                     2                            3                      4                    5                   6

                     Asset Description                               Petition/             Estimated Net Value         Property             Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By Trustee,   Abandoned             Received by      Administered (FA)/
                                                                      Values             Less Liens, Exemptions,      OA=§554(a)             the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                                                Remaining Assets

17        2 Claims against Northwest Gold Diggers                       Unknown                          Unknown                                      0.00                    FA

18        Raw materials for a custom built wash plant                   Unknown                          Unknown                                      0.00                    FA
            under asset 23

19        Gold 74 oz at $1,100/oz.                                      81,400.00                     81,400.00                                  84,536.11                    FA
            per order filed 6/5/19

20        70 gold plated coins                                           1,750.00                        1,750.00                                     0.00                    FA

21        3 Connex trailers holding miscellaneous mining,               Unknown                          Unknown                                      0.00                    FA
            under asset 23

22        Check from GBA for Gold processed (u)                         35,621.13                     35,621.13                                  35,771.13                    FA
            Gold taken to assay office in November

23        Sale of Pomrenke Mining Assets per Order                   1,036,500.00                   1,036,500.00                                470,315.88                  0.00
            Court Order June 28, 2019

24        Internet Domaine pomrenkemining                                      0.00                          0.00                                     0.00                    FA

25        Possible intellectual rights                                  Unknown                          Unknown                                      0.00                    FA

26        Interest in Insurance Policies                                       0.00                          0.00                                     0.00                    FA

 26      Assets       Totals (Excluding unknown values)             $4,168,615.90                $4,168,615.90                                $590,772.92                  $0.00



      Major Activities Affecting Case Closing:

                  07-15-2020 Mr Pomrenke asked for an extention to end of August 2020 for payment and it was given. 06-28-2019 Judge signed Order Granting the Sale of Assets of
                  the bankruptcy for $1,036,500.00. Received down payment of 400,000.00 July 12, 2019. Final payment due in one year.

      Initial Projected Date Of Final Report (TFR):       December 30, 2020                Current Projected Date Of Final Report (TFR):       October 6, 2020 (Actual)




                                                                                                                                           Printed: 05/04/2021 02:59 PM    V.20.33
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                                                                                                                                                                                Exhibit 9


                                                                                 Form 2                                                                                         Page: 1

                                                    Cash Receipts And Disbursements Record
Case Number:        19-00083                                                                        Trustee:            KENNETH W. BATTLEY (230020)
Case Name:          POMRENKE MINING, LLC, A DELAWARE LI                                             Bank Name:          Mechanics Bank
                                                                                                    Account:            ******4866 - Checking Account
Taxpayer ID #: **-***9133                                                                           Blanket Bond:       $55,683,398.00 (per case limit)
Period Ending: 05/04/21                                                                             Separate Bond: N/A

   1            2                          3                                       4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                T-Code              $                   $       Account Balance
04/17/19      {15}       Wells Fargo 147                  funds from bank acct                                 1129-000                  44.87                                    44.87
04/17/19      {13}       Wells Fargo 143                  bank acct funds                                      1129-000                  49.71                                    94.58
04/17/19      {14}       Wells Fargo                      bank account funds from account 3941                 1129-000                  55.22                                   149.80
05/01/19                 GBA Assaying & Refining          Check for gold received by GBA 11-2-18 (                                 35,621.13                                35,770.93
                                                          before bkrcy filing)
              {22}                                                                            35,771.13        1229-000                                                     35,770.93
                           GBA Assaying                      Assay fee                            -150.00      3991-000                                                     35,770.93
06/12/19                 GBA Assaying & Refining          Gold processed per order filed June 5, 2019                              84,386.11                            120,157.04
              {19}         GBA Assaying                      gross of gold and silver         84,536.11        1129-000                                                 120,157.04
                           GBA Assaying                      Assaying fee                         -150.00      3991-000                                                 120,157.04
07/12/19      {23}       Landye, Bennett for S Pomrenke   Down payment on Sale per Order filed June            1129-000           400,000.00                            520,157.04
                                                          28, 2019
08/27/19      101        Northwest Gold Diggers LLC       Order filed 8-26-19 for Insurance Premium post 2420-000                                         10,555.43     509,601.61
                                                          petition
03/31/20                 Mechanics Bank                   Bank and Technology Services Fee                     2600-000                                       407.26    509,194.35
04/06/20      102        INTERNATIONAL SURETIES, LTD.     BOND PREMIUM PAYMENT ON LEDGER                       2300-000                                       194.37    508,999.98
                                                          BALANCE AS OF 04/06/2020 FOR CASE
                                                          #19-00083, Bond #016027975
04/30/20                 Mechanics Bank                   Bank and Technology Services Fee                     2600-000                                       813.73    508,186.25
05/29/20                 Mechanics Bank                   Bank and Technology Services Fee                     2600-000                                       785.18    507,401.07
06/03/20      103        Cabot Christianson               Order filed May 11, 2020                             3210-000                                   64,108.00     443,293.07
06/03/20      104        Cabot Christianson               Paid per order filed May 11, 2020                    3220-000                                    2,431.98     440,861.09
06/30/20                 Mechanics Bank                   Bank and Technology Services Fee                     2600-000                                       790.62    440,070.47
07/31/20                 Mechanics Bank                   Bank and Technology Services Fee                     2600-000                                       726.83    439,343.64
08/31/20                 Mechanics Bank                   Bank and Technology Services Fee                     2600-000                                       678.82    438,664.82
09/30/20                 Mechanics Bank                   Bank and Technology Services Fee                     2600-000                                       747.95    437,916.87
10/02/20      {23}       Landye Bennett Blumstein         Check on sale of Pomrenke Mining                     1129-000              2,500.00                           440,416.87
12/02/20      {23}       Shawn Pomrenke                   Pmt per order                                        1129-000            67,815.58                            508,232.45
12/02/20      {23}       Landye Bennett Blumstein                                                              1129-000                   0.30                          508,232.75
12/04/20      105        Cabot Christianson               Dividend paid 100.00% on $85,404.00,                 3210-000                                   21,296.00     486,936.75
                                                          Attorney for Trustee Fees (Other Firm);
                                                          Reference:
12/04/20      106        Cabot Christianson               Dividend paid 100.00% on $2,900.79, Attorney         3220-000                                       468.81    486,467.94
                                                          for Trustee Expenses (Other Firm); Reference:
12/04/20      107        RUSSELL E MINKEMANN              Dividend paid 100.00% on $8,030.00,                  3410-000                                    8,030.00     478,437.94
                                                          Accountant for Trustee Fees (Other Firm);
                                                          Reference:
12/04/20      108        RUSSELL E MINKEMANN              Dividend paid 100.00% on $52.84, Accountant          3420-000                                        52.84    478,385.10
                                                                                                     Subtotals :                 $590,472.92        $112,087.82
{} Asset reference(s)                                                                                                                        Printed: 05/04/2021 02:59 PM        V.20.33
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                                                                                    14                                                                                          Exhibit 9


                                                                                 Form 2                                                                                         Page: 2

                                                     Cash Receipts And Disbursements Record
Case Number:        19-00083                                                                        Trustee:            KENNETH W. BATTLEY (230020)
Case Name:          POMRENKE MINING, LLC, A DELAWARE LI                                             Bank Name:          Mechanics Bank
                                                                                                    Account:            ******4866 - Checking Account
Taxpayer ID #: **-***9133                                                                           Blanket Bond:       $55,683,398.00 (per case limit)
Period Ending: 05/04/21                                                                             Separate Bond: N/A

   1            2                           3                                      4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                   T-Code              $                   $       Account Balance
                                                          for Trustee Expenses (Other Firm); Reference:
12/04/20      109        KENNETH W. BATTLEY               Dividend paid 100.00% on $29,384.51,                 2100-000                                   29,384.51     449,000.59
                                                          Trustee Compensation; Reference:
12/04/20      110        KENNETH W. BATTLEY               Dividend paid 100.00% on $503.51, Trustee            2200-000                                       503.51    448,497.08
                                                          Expenses; Reference:
12/04/20      111        WENDY'S SUPPORT SERVICES         Dividend paid 100.00% on $196.40, Chapter 7          2690-000                                       196.40    448,300.68
                                                          Operating Expenses (incl. wages, payroll taxes
                                                          and other taxes paid); Reference:
12/04/20      112        City of Nome                     Dividend paid 100.00% on $2,033.00, Admin.           2410-000                                    2,033.00     446,267.68
                                                          Rent (post-petition storage fees, leases, etc.);
                                                          Reference:
12/04/20      113        City of Nome                     Dividend paid 100.00% on $3,060.75; Claim#           5800-000                                    3,060.75     443,206.93
                                                          11; Filed: $3,060.75; Reference:
12/04/20      114        City of Nome                     Dividend paid 100.00% on $10,761.00; Claim#          5800-000                                   10,761.00     432,445.93
                                                          16; Filed: $19,328.54; Reference:
12/04/20      115        Dorsey & Whitney LLP             Dividend paid 100.00% on $46,971.34; Claim#          7100-000                                   46,971.34     385,474.59
                                                          5; Filed: $50,779.83; Reference:
12/04/20      116        Carol Bavousett Mattick, PLLC    Dividend paid 100.00% on $161,172.09;                7100-000                                 161,172.09      224,302.50
                                                          Claim# 6; Filed: $224,858.50; Reference:
12/04/20      117        Georgie W. Lewis                 Dividend paid 100.00% on $101,227.40;                7100-000                                 101,227.40      123,075.10
                                                          Claim# 8; Filed: $101,227.40; Reference:
12/04/20      118        Nome Joint Utility System        Dividend paid 100.00% on $3,050.29; Claim#           7100-000                                    3,050.29     120,024.81
                                                          10; Filed: $3,050.29; Reference:
12/04/20      119        Blue Water Gold LLC              Dividend paid 100.00% on $22,018.19; Claim#          7100-000                                   22,018.19         98,006.62
                                                          13; Filed: $22,018.19; Reference:
12/04/20      120        Blue Water Mining, LLC           Dividend paid 100.00% on $2,317.14; Claim#           7100-000                                    2,317.14         95,689.48
                                                          14; Filed: $2,317.14; Reference:
12/04/20      121        Eagle Harbor Engineering, PLLC   Dividend paid 100.00% on $6,750.00; Claim#           7100-000                                    6,750.00         88,939.48
                                                          15; Filed: $6,750.00; Reference:
12/04/20      122        City of Nome                     Dividend paid 100.00% on $3,839.45; Claim#           7100-000                                    3,839.45         85,100.03
                                                          224DE; Filed: $3,839.45; Reference:
12/04/20      123        Morgan Sales and Service         Dividend paid 100.00% on $401.63; Claim#             7200-000                                       401.63        84,698.40
                                                          17; Filed: $401.63; Reference:
                                                          Stopped on 03/22/21
12/04/20      124        Soleer LLC                       Dividend paid 100.00% on $189.44; Claim#             7200-000                                       189.44        84,508.96
                                                          18; Filed: $189.44; Reference:
                                                          Stopped on 12/22/20
12/04/20      125        Bonanza Fuel, LLC                Dividend paid 100.00% on $153.90; Claim#             7200-000                                       153.90        84,355.06
                                                          19; Filed: $153.90; Reference:

                                                                                                     Subtotals :                         $0.00      $394,030.04
{} Asset reference(s)                                                                                                                        Printed: 05/04/2021 02:59 PM        V.20.33
                     Case 19-00083                   Filed 05/10/21           Entered 05/10/21 14:34:04                          Doc# 357                 Page 11 of
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                                                     Cash Receipts And Disbursements Record
Case Number:        19-00083                                                                    Trustee:            KENNETH W. BATTLEY (230020)
Case Name:          POMRENKE MINING, LLC, A DELAWARE LI                                         Bank Name:          Mechanics Bank
                                                                                                Account:            ******4866 - Checking Account
Taxpayer ID #: **-***9133                                                                       Blanket Bond:       $55,683,398.00 (per case limit)
Period Ending: 05/04/21                                                                         Separate Bond: N/A

   1            2                           3                                     4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction               T-Code              $                   $       Account Balance
12/04/20      126        NC Machinery                     Dividend paid 100.00% on $85.00; Claim# 20;      7200-000                                        85.00        84,270.06
                                                          Filed: $85.00; Reference:
12/04/20      127        InCorp Services, Inc.            Dividend paid 100.00% on $99.00; Claim# 21;      7200-000                                        99.00        84,171.06
                                                          Filed: $99.00; Reference:
                                                          Stopped on 03/22/21
12/04/20      128        Dorsey & Whitney LLP             Dividend paid 100.00% on $2,086.98; Claim#       7990-000                                   2,086.98          82,084.08
                                                          5I; Filed: $2,086.98; Reference:
12/04/20      129        Carol Bavousett Mattick, PLLC    Dividend paid 100.00% on $7,161.03; Claim#       7990-000                                   7,161.03          74,923.05
                                                          6I; Filed: $7,161.03; Reference:
12/04/20      130        Georgie W. Lewis                 Dividend paid 100.00% on $4,497.63; Claim#       7990-000                                   4,497.63          70,425.42
                                                          8I; Filed: $4,497.63; Reference:
12/04/20      131        Nome Joint Utility System        Dividend paid 100.00% on $135.53; Claim#         7990-000                                       135.53        70,289.89
                                                          10I; Filed: $135.53; Reference:
12/04/20      132        City of Nome                     Dividend paid 100.00% on $135.99; Claim#         7990-000                                       135.99        70,153.90
                                                          11I; Filed: $135.99; Reference:
12/04/20      133        Blue Water Gold LLC              Dividend paid 100.00% on $978.29; Claim#         7990-000                                       978.29        69,175.61
                                                          13I; Filed: $978.29; Reference:
12/04/20      134        Blue Water Mining, LLC           Dividend paid 100.00% on $102.95; Claim#         7990-000                                       102.95        69,072.66
                                                          14I; Filed: $102.95; Reference:
12/04/20      135        Eagle Harbor Engineering, PLLC   Dividend paid 100.00% on $299.91; Claim#         7990-000                                       299.91        68,772.75
                                                          15I; Filed: $299.91; Reference:
12/04/20      136        City of Nome                     Dividend paid 100.00% on $478.12; Claim#         7990-000                                       478.12        68,294.63
                                                          16I; Filed: $478.12; Reference:
12/04/20      137        Morgan Sales and Service         Dividend paid 100.00% on $17.84; Claim# 17I;     7990-000                                        17.84        68,276.79
                                                          Filed: $17.84; Reference:
                                                          Stopped on 03/22/21
12/04/20      138        Soleer LLC                       Dividend paid 100.00% on $8.42; Claim# 18I;      7990-000                                         8.42        68,268.37
                                                          Filed: $8.42; Reference:
                                                          Stopped on 12/22/20
12/04/20      139        Bonanza Fuel, LLC                Dividend paid 100.00% on $6.84; Claim# 19I;      7990-000                                         6.84        68,261.53
                                                          Filed: $6.84; Reference:
12/04/20      140        NC Machinery                     Dividend paid 100.00% on $3.78; Claim# 20I;      7990-000                                         3.78        68,257.75
                                                          Filed: $3.78; Reference:
12/04/20      141        InCorp Services, Inc.            Dividend paid 100.00% on $4.40; Claim# 21I;      7990-000                                         4.40        68,253.35
                                                          Filed: $4.40; Reference:
                                                          Stopped on 03/22/21
12/04/20      142        City of Nome                     Dividend paid 100.00% on $170.59; Claim#         7990-000                                       170.59        68,082.76
                                                          224DEI; Filed: $170.59; Reference:
12/04/20      143        Pomrenke Mining LLC              Dividend paid 100.00% on $266.88; Claim#         8200-002                                       266.88        67,815.88

                                                                                                Subtotals :                          $0.00          $16,539.18
{} Asset reference(s)                                                                                                                    Printed: 05/04/2021 02:59 PM        V.20.33
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                                                     Cash Receipts And Disbursements Record
Case Number:        19-00083                                                                        Trustee:            KENNETH W. BATTLEY (230020)
Case Name:          POMRENKE MINING, LLC, A DELAWARE LI                                             Bank Name:          Mechanics Bank
                                                                                                    Account:            ******4866 - Checking Account
Taxpayer ID #: **-***9133                                                                           Blanket Bond:       $55,683,398.00 (per case limit)
Period Ending: 05/04/21                                                                             Separate Bond: N/A

   1            2                          3                                          4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                   Description of Transaction               T-Code              $                   $       Account Balance
                                                              111; Filed: $266.88; Reference:
                                                              Voided on 12/04/20
12/04/20      143        Pomrenke Mining LLC                  Dividend paid 100.00% on $266.88; Claim#         8200-002                                       -266.88       68,082.76
                                                              111; Filed: $266.88; Reference:
                                                              Voided: check issued on 12/04/20
12/07/20      144        Roland Werner                        paid per order filed 12-2-20                     8200-052                                       944.82        67,137.94
12/07/20      145        Blue Water Gold LLC                                                                   8100-000                                   54,799.52         12,338.42
12/07/20      146        Blue Water Mining LLC                                                                 8200-052                                    2,995.28             9,343.14
12/07/20      147        Law Offices of Cabot Christianson,                                                    3210-000                                    8,876.00              467.14
                         P.C.
12/07/20      148        Kenneth Battley                                                                       2100-000                                       467.14                0.00
12/22/20      124        Soleer LLC                           Dividend paid 100.00% on $189.44; Claim#         7200-000                                       -189.44            189.44
                                                              18; Filed: $189.44; Reference:
                                                              Stopped: check issued on 12/04/20
12/22/20      138        Soleer LLC                           Dividend paid 100.00% on $8.42; Claim# 18I;      7990-000                                         -8.42            197.86
                                                              Filed: $8.42; Reference:
                                                              Stopped: check issued on 12/04/20
12/22/20      149        Soleer LLC                           payment on claim #18                             7200-000                                       189.44                8.42
12/22/20      150        Soleer LLC                           interest on claim #18                            7990-000                                         8.42                0.00
12/31/20                 Mechanics Bank                       Bank and Technology Services Fee                 2600-000                                       638.07             -638.07
01/05/21                 Mechanics Bank                       Bank and Technology Services Fee                 2600-000                                       -638.07               0.00
                                                              Adjustment
03/22/21      123        Morgan Sales and Service             Dividend paid 100.00% on $401.63; Claim#         7200-000                                       -401.63            401.63
                                                              17; Filed: $401.63; Reference:
                                                              Stopped: check issued on 12/04/20
03/22/21      127        InCorp Services, Inc.                Dividend paid 100.00% on $99.00; Claim# 21;      7200-000                                        -99.00            500.63
                                                              Filed: $99.00; Reference:
                                                              Stopped: check issued on 12/04/20
03/22/21      137        Morgan Sales and Service             Dividend paid 100.00% on $17.84; Claim# 17I;     7990-000                                        -17.84            518.47
                                                              Filed: $17.84; Reference:
                                                              Stopped: check issued on 12/04/20
03/22/21      141        InCorp Services, Inc.                Dividend paid 100.00% on $4.40; Claim# 21I;      7990-000                                         -4.40            522.87
                                                              Filed: $4.40; Reference:
                                                              Stopped: check issued on 12/04/20
03/25/21                 Transition Transfer Debit            Transition Transfer Debit                        9999-000                                       522.87                0.00




                                                                                                    Subtotals :                          $0.00          $67,815.88
{} Asset reference(s)                                                                                                                        Printed: 05/04/2021 02:59 PM        V.20.33
                     Case 19-00083               Filed 05/10/21      Entered 05/10/21 14:34:04                           Doc# 357                 Page 13 of
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                                               Cash Receipts And Disbursements Record
Case Number:        19-00083                                                            Trustee:            KENNETH W. BATTLEY (230020)
Case Name:          POMRENKE MINING, LLC, A DELAWARE LI                                 Bank Name:          Mechanics Bank
                                                                                        Account:            ******4866 - Checking Account
Taxpayer ID #: **-***9133                                                               Blanket Bond:       $55,683,398.00 (per case limit)
Period Ending: 05/04/21                                                                 Separate Bond: N/A

   1            2                       3                                4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                               Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From         Description of Transaction              T-Code              $                  $       Account Balance

                                                                       ACCOUNT TOTALS                                 590,472.92            590,472.92                $0.00
                                                                              Less: Bank Transfers                           0.00                 522.87
                                                                       Subtotal                                       590,472.92            589,950.05
                                                                              Less: Payments to Debtors                                       58,739.62
                                                                       NET Receipts / Disbursements                  $590,472.92        $531,210.43




{} Asset reference(s)                                                                                                            Printed: 05/04/2021 02:59 PM        V.20.33
                     Case 19-00083                    Filed 05/10/21           Entered 05/10/21 14:34:04                            Doc# 357                  Page 14 of
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                                                    Cash Receipts And Disbursements Record
Case Number:        19-00083                                                                       Trustee:            KENNETH W. BATTLEY (230020)
Case Name:          POMRENKE MINING, LLC, A DELAWARE LI                                            Bank Name:          TriState Capital Bank
                                                                                                   Account:            ******5407 - Checking Account
Taxpayer ID #: **-***9133                                                                          Blanket Bond:       $55,683,398.00 (per case limit)
Period Ending: 05/04/21                                                                            Separate Bond: N/A

   1            2                          3                                       4                                               5                     6                    7

 Trans.     {Ref #} /                                                                                                          Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction               T-Code              $                    $       Account Balance
03/25/21                                                                                                      9999-000                 522.87                                      522.87
04/01/21     10151       U. S. Bankruptcy Court District of   Unclaimed Funds on Claim # 17 & 21              7100-000                                        522.87                 0.00
                         Alaska

                                                                                 ACCOUNT TOTALS                                        522.87                 522.87                $0.00
                                                                                        Less: Bank Transfers                           522.87                   0.00
                                                                                 Subtotal                                                0.00                 522.87
                                                                                        Less: Payments to Debtors                                               0.00
                                                                                 NET Receipts / Disbursements                           $0.00                $522.87

                               Net Receipts :         590,472.92
                     Plus Gross Adjustments :             300.00                                                                     Net                Net                   Account
                    Less Payments to Debtor :           3,940.10                 TOTAL - ALL ACCOUNTS                              Receipts        Disbursements              Balances
                                                   ————————
                                  Net Estate :       $586,832.82                 Checking # ******4866                           590,472.92            531,210.43                    0.00
                                                                                 Checking # ******5407                                   0.00                 522.87                 0.00

                                                                                                                                $590,472.92           $531,733.30                   $0.00




{} Asset reference(s)                                                                                                                          Printed: 05/04/2021 02:59 PM        V.20.33
